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9402487   RUBIN & ROTHMAN LLC                  Attn: Andrew White, Esq.         1787 Veterans Memorial Hwy, Ste
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